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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:

                                                                               Chapter 7
                                                                               Chapter 11
                                                                               Chapter 12
                                                                               Chapter 13                                     Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     David                                                            Kristy
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Heath                                                            Byess
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your        Chadwick                                                         Chadwick
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2538                                                      xxx-xx-1484
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   David Heath Chadwick
Debtor 2   Kristy Byess Chadwick                                                                     Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have       I have not used any business name or EINs.                   I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 654 Ocean Ave
                                 Canton, GA 30114
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cherokee
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                       Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                      I have another reason.                                        I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    David Heath Chadwick
Debtor 2    Kristy Byess Chadwick                                                                        Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                              Chapter 7
                                  Chapter 11
                                  Chapter 12
                                  Chapter 13


8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for           No.
     bankruptcy within the
     last 8 years?                Yes.
                                             District                                  When                            Case number
                                             District                                  When                            Case number
                                             District                                  When                            Case number



10. Are any bankruptcy            No
    cases pending or being
    filed by a spouse who is      Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known



11. Do you rent your              No.        Go to line 12.
    residence?
                                  Yes.       Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                        this bankruptcy petition.




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Debtor 1    David Heath Chadwick
Debtor 2    Kristy Byess Chadwick                                                                          Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time       No.       Go to Part 4.
    business?
                                    Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                      Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                      None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                    No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                    No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                    Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                    Yes.      I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any          No.
    property that poses or is
    alleged to pose a threat        Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 1    David Heath Chadwick
Debtor 2    Kristy Byess Chadwick                                                                      Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check        I received a briefing from an approved credit                I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your               I certify that I asked for credit counseling                 I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                        I am not required to receive a briefing about              I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                              Incapacity.                                              Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                              Disability.                                              Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                              Active duty.                                             Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    David Heath Chadwick
Debtor 2    Kristy Byess Chadwick                                                                         Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                            No. Go to line 16b.
                                            Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                            No. Go to line 16c.
                                            Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under          No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that         Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                No
     are paid that funds will
     be available for                       Yes
     distribution to unsecured
     creditors?

18. How many Creditors do         1-49                                           1,000-5,000                                25,001-50,000
    you estimate that you                                                         5001-10,000                                50,001-100,000
    owe?                          50-99
                                  100-199                                        10,001-25,000                              More than100,000
                                  200-999

19. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your assets to                                                       $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
    be worth?                     $50,001 - $100,000
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

20. How much do you               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
    estimate your liabilities     $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
    to be?
                                  $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                 David Heath Chadwick                                              Kristy Byess Chadwick
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     April 8, 2021                                     Executed on     April 8, 2021
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   David Heath Chadwick
Debtor 2   Kristy Byess Chadwick                                                                          Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Jeffrey B. Kelly                                               Date         April 8, 2021
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Jeffrey B. Kelly 412798
                                Printed name

                                Law Office of Jeffrey B. Kelly, P.C.
                                Firm name

                                107 E. 5th Avenue
                                Rome, GA 30161
                                Number, Street, City, State & ZIP Code

                                Contact phone     678-861-1127                               Email address         lawoffice@kellycanhelp.com
                                412798 GA
                                Bar number & State




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 Fill in this information to identify your case:

 Debtor 1                  David Heath Chadwick
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Kristy Byess Chadwick
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                               Dates Debtor 2
                                                                 lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)

 From January 1 of current year until               Wages, commissions,                          $2,115.38         Wages, commissions,                   $1,387.65
 the date you filed for bankruptcy:
                                                   bonuses, tips                                                   bonuses, tips
                                                    Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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 Debtor 1      David Heath Chadwick
 Debtor 2      Kristy Byess Chadwick                                                                       Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                            Wages, commissions,                          $5,000.00         Wages, commissions,               $75,000.00
 (January 1 to December 31, 2020 )
                                                   bonuses, tips                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                        $60,000.00          Wages, commissions,              $120,000.00
 (January 1 to December 31, 2019 )
                                                   bonuses, tips                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       No
           Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 For last calendar year:                           Unemployment                                 $21,360.00
 (January 1 to December 31, 2020 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
       No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                      No.         Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 2      Kristy Byess Chadwick                                                                       Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Farm Bureau Bank                                          Civil                      Cherokee County                             Pending
       v.                                                                                   Magistrate Court                          On appeal
       Kristy Chadwick                                                                      90 North St #150
                                                                                                                                      Concluded
       20MCE1443                                                                            Canton, GA 30114
                                                                                                                                     Lawsuit


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes




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 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                  Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                       Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                            lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Law Office of Jeffrey B. Kelly                                 $1,000 to file chapter 7 ($338 filing fee,              April 9, 2021             $1,000.00
       107 E. Fifth Avenue                                            $20 credit counseling course, $20
       Rome, GA 30161                                                 financial management course, $622
                                                                      attorney's fees)


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made




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18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
     No
           Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or      Date transfer was
       Address                                                        property transferred                      payments received or debts    made
                                                                                                                paid in exchange
       Person's relationship to you
       Stranger                                                       4 horse Featherlite trailer               Debtor received $10,500       November 2020
                                                                      worth about $10,500



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                       Date Transfer was
                                                                                                                                              made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of              Type of account or       Date account was           Last balance
       Address (Number, Street, City, State and ZIP              account number                instrument               closed, sold,          before closing or
       Code)                                                                                                            moved, or                       transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                            have it?
                                                                      State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                    have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)



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 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.
       Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                  Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                      Dates business existed




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28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
       Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.


 David Heath Chadwick                                                    Kristy Byess Chadwick
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      April 8, 2021                                                 Date      April 8, 2021

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
 No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
 No
 Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case and this filing:

 Debtor 1                 David Heath Chadwick
                          First Name                        Middle Name                     Last Name

 Debtor 2                 Kristy Byess Chadwick
 (Spouse, if filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number                                                                                                                                Check if this is an
                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?



 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1      Make:       Chevrolet                               Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Silverado                                Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Year:       2014                                     Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:              170,000            Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                   At least one of the debtors and another

                                                                Check if this is community property                      $18,000.00                  $18,000.00
                                                                     (see instructions)



  3.2      Make:       Jeep                                    Who has an interest in the property? Check one     Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
           Model:      Wrangler                                 Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
           Year:       2015                                     Debtor 2 only                                    Current value of the      Current value of the
           Approximate mileage:              150,000            Debtor 1 and Debtor 2 only                       entire property?          portion you own?
           Other information:                                   At least one of the debtors and another

                                                                Check if this is community property                      $25,000.00                  $25,000.00
                                                                     (see instructions)




Official Form 106A/B                                                         Schedule A/B: Property                                                           page 1
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4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>          $43,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Household Items (no single item over $300)                                                                               $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    Electronics                                                                                                                $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Clothes                                                                                                                    $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....



Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 2
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                                            Jewelry                                                                                                                 $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                        $2,000.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                               Cash                                   $25.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                                                Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes. Give specific information about them...................
                                                  Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:




Official Form 106A/B                                                                      Schedule A/B: Property                                                        page 3
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22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                          Company name:                                             Beneficiary:                         Surrender or refund
                                                                                                                                         value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

Official Form 106A/B                                                   Schedule A/B: Property                                                              page 4
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33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                   $25.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................                       $0.00
 56. Part 2: Total vehicles, line 5                                                                           $43,000.00
 57. Part 3: Total personal and household items, line 15                                                       $2,000.00
 58. Part 4: Total financial assets, line 36                                                                      $25.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $45,025.00              Copy personal property total           $45,025.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                         $45,025.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
               Case 21-53045-sms                      Doc 1           Filed 04/15/21 Entered 04/15/21 14:39:03                              Desc Main
                                                                     Document      Page 20 of 63
 Fill in this information to identify your case:

 Debtor 1                 David Heath Chadwick
                          First Name                        Middle Name                     Last Name

 Debtor 2                 Kristy Byess Chadwick
 (Spouse if, filing)      First Name                        Middle Name                    Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2014 Chevrolet Silverado 170,000                                $18,000.00                                   $6,136.00     O.C.G.A. § 44-13-100(a)(3)
      miles
                                                                                        
      Line from Schedule A/B: 3.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      2015 Jeep Wrangler 150,000 miles                                $25,000.00                                     $990.00     O.C.G.A. § 44-13-100(a)(3)
      Line from Schedule A/B: 3.2
                                                                                        
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      Household Items (no single item over                             $1,500.00                                   $1,500.00     O.C.G.A. § 44-13-100(a)(4)
      $300)
                                                                                        
      Line from Schedule A/B: 6.1                                                        100% of fair market value, up to
                                                                                              any applicable statutory limit

      Electronics                                                         $300.00                                    $300.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 7.1
                                                                                        
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit

      Clothes                                                             $100.00                                    $100.00     O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 11.1
                                                                                        
                                                                                         100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
            Case 21-53045-sms                         Doc 1           Filed 04/15/21 Entered 04/15/21 14:39:03                               Desc Main
                                                                     Document      Page 21 of 63
 Debtor 1    David Heath Chadwick
 Debtor 2    Kristy Byess Chadwick                                                                       Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Jewelry                                                             $100.00                                   $100.00        O.C.G.A. § 44-13-100(a)(5)
     Line from Schedule A/B: 12.1
                                                                                      
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                 $25.00                                    $25.00        O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                                      
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 21-53045-sms                       Doc 1          Filed 04/15/21 Entered 04/15/21 14:39:03                                    Desc Main
                                                                     Document      Page 22 of 63
 Fill in this information to identify your case:

 Debtor 1                   David Heath Chadwick
                            First Name                       Middle Name                     Last Name

 Debtor 2                   Kristy Byess Chadwick
 (Spouse if, filing)        First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
 2.1     1st Franklin Financial                    Describe the property that secures the claim:                $11,864.00               $18,000.00                   $0.00
         Creditor's Name
                                                   2014 Chevrolet Silverado 170,000
                                                   miles
                                                   As of the date you file, the claim is: Check all that
         535 Riverstone Parkway                    apply.
         Canton, GA 30114                           Contingent
         Number, Street, City, State & Zip Code     Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

                                 Opened
                                 12/20 Last
                                 Active
 Date debt was incurred          12/16/20                   Last 4 digits of account number        0205




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
             Case 21-53045-sms                          Doc 1         Filed 04/15/21 Entered 04/15/21 14:39:03                      Desc Main
                                                                     Document      Page 23 of 63
 Debtor 1 David Heath Chadwick                                                                             Case number (if known)
              First Name                  Middle Name                     Last Name
 Debtor 2 Kristy Byess Chadwick
              First Name                  Middle Name                     Last Name


        1st Franklin Financial
 2.2                                                                                                                $3,912.00       $0.00       $3,912.00
        Cor                                        Describe the property that secures the claim:
        Creditor's Name
                                                   HHG

                                                   As of the date you file, the claim is: Check all that
        213 E Tugalo St                            apply.
        Toccoa, GA 30577-2127                       Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         10-23-2020                  Last 4 digits of account number        XXXX

        Capital One Bank (USA),
 2.3                                                                                                                $1,480.00       $0.00       $1,480.00
        N.A.                                       Describe the property that secures the claim:
        Creditor's Name
                                                   Judgment

                                                   As of the date you file, the claim is: Check all that
        4851 Cox Rd                                apply.
        Glen Allen, VA 23060                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         01-09-2018                  Last 4 digits of account number        2543




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
             Case 21-53045-sms                          Doc 1         Filed 04/15/21 Entered 04/15/21 14:39:03                      Desc Main
                                                                     Document      Page 24 of 63
 Debtor 1 David Heath Chadwick                                                                             Case number (if known)
              First Name                  Middle Name                     Last Name
 Debtor 2 Kristy Byess Chadwick
              First Name                  Middle Name                     Last Name


        Capital One Bank (USA),
 2.4                                                                                                                $3,100.00       $0.00       $3,100.00
        N.A.                                       Describe the property that secures the claim:
        Creditor's Name
                                                   Judgment

                                                   As of the date you file, the claim is: Check all that
        4851 Cox Rd                                apply.
        Glen Allen, VA 23060                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         06-29-2018                  Last 4 digits of account number        1GTD

 2.5    Farm Bureau Bank FSB                       Describe the property that secures the claim:                  $11,837.01        $0.00     $11,837.01
        Creditor's Name
                                                   Judgment

                                                   As of the date you file, the claim is: Check all that
        2165 Green Vista Dr                        apply.
        Sparks, NV 89431                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         03-26-2021                  Last 4 digits of account number        1443

        Georgia Department of
 2.6                                                                                                                $2,578.00       $0.00       $2,578.00
        Revenue                                    Describe the property that secures the claim:
        Creditor's Name
                                                   State Tax Execution

        Bankruptcy Section
                                                   As of the date you file, the claim is: Check all that
        PO Box 161108                              apply.
        Atlanta, GA 30321-1108                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         02-23-2017                  Last 4 digits of account number        3171


Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 6
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             Case 21-53045-sms                          Doc 1         Filed 04/15/21 Entered 04/15/21 14:39:03                      Desc Main
                                                                     Document      Page 25 of 63
 Debtor 1 David Heath Chadwick                                                                             Case number (if known)
              First Name                  Middle Name                     Last Name
 Debtor 2 Kristy Byess Chadwick
              First Name                  Middle Name                     Last Name




 2.7
        Georgia Department of
        Revenue                                    Describe the property that secures the claim:                    $3,290.00       $0.00       $3,290.00
        Creditor's Name
                                                   State Tax Execution

        Bankruptcy Section
                                                   As of the date you file, the claim is: Check all that
        PO Box 161108                              apply.
        Atlanta, GA 30321-1108                      Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         05-11-2016                  Last 4 digits of account number        2180

 2.8    Hamby Mechanical Inc                       Describe the property that secures the claim:                    $1,892.00       $0.00       $1,892.00
        Creditor's Name                            Notice of Mechanical &
                                                   Materialmens Lien
                                                   As of the date you file, the claim is: Check all that
        251 Rope Mill Pkwy Ste 1                   apply.
        Woodstock, GA 30188                         Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         01-15-2004                  Last 4 digits of account number




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 4 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
             Case 21-53045-sms                          Doc 1         Filed 04/15/21 Entered 04/15/21 14:39:03                                            Desc Main
                                                                     Document      Page 26 of 63
 Debtor 1 David Heath Chadwick                                                                             Case number (if known)
              First Name                  Middle Name                     Last Name
 Debtor 2 Kristy Byess Chadwick
              First Name                  Middle Name                     Last Name


        Santander Consumer
 2.9                                                                                                               $24,010.00                 $25,000.00                  $0.00
        USA                                        Describe the property that secures the claim:
        Creditor's Name
                                                   2015 Jeep Wrangler 150,000 miles

        Attn: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
        Po Box 961245                              apply.
        Fort Worth, TX 76161                        Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                        car loan)
  Debtor 2 only
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

                                Opened
 Date debt was incurred         03/15                       Last 4 digits of account number        1000


 2.1    Timothy Steplitus &
 0      Steven Jaf                                 Describe the property that secures the claim:                   $11,963.00                         $0.00       $11,963.00
        Creditor's Name
                                                   Judgment

                                                   As of the date you file, the claim is: Check all that
        626 Whistler Dr                            apply.
        Canton, GA 30115                            Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         05-23-2007                  Last 4 digits of account number        54CS


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $75,926.01
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $75,926.01

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

 [ ]
           Name, Number, Street, City, State & Zip Code                                             On which line in Part 1 did you enter the creditor?   2.3
           Aldridge Pite Haan, LLP
           Atty for Capital One Bank                                                                Last 4 digits of account number
           PO Box 52815
           Atlanta, GA 30355




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                   page 5 of 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case 21-53045-sms                         Doc 1           Filed 04/15/21 Entered 04/15/21 14:39:03                             Desc Main
                                                                     Document      Page 27 of 63
 Debtor 1 David Heath Chadwick                                                             Case number (if known)
              First Name                Middle Name                     Last Name
 Debtor 2 Kristy Byess Chadwick
              First Name                Middle Name                     Last Name


 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.3
          Cherokee County Magistrate Cou
          90 North St                                                                Last 4 digits of account number
          #150
          Canton, GA 30114

 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.5
          Cherokee County Magistrate Cou
          90 North St                                                                Last 4 digits of account number
          #150
          Canton, GA 30114

 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.4
          Cherokee County Magistrate Cou
          90 North St                                                                Last 4 digits of account number
          #150
          Canton, GA 30114

 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.10
          Cherokee County Magistrate Cou
          90 North St                                                                Last 4 digits of account number
          #150
          Canton, GA 30114

 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.9
          Chrysler Capital
          P.O. Box 961275                                                            Last 4 digits of account number
          Fort Worth, TX 76161

 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.5
          Cloud Willis & Ellis, LLC
          Atty for Farm Bureau Bank                                                  Last 4 digits of account number
          3928 Montclair Rd Ste 227
          Birmingham, AL 35213

 [ ]
          Name, Number, Street, City, State & Zip Code                               On which line in Part 1 did you enter the creditor?   2.4
          Cooling & Winter, LLC
          Atty for Capital One Bank                                                  Last 4 digits of account number
          1355 Roswell Rd Ste 240
          Marietta, GA 30062




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 6
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               Case 21-53045-sms                       Doc 1           Filed 04/15/21 Entered 04/15/21 14:39:03                                          Desc Main
                                                                      Document      Page 28 of 63
 Fill in this information to identify your case:

 Debtor 1                   David Heath Chadwick
                            First Name                      Middle Name                        Last Name

 Debtor 2                   Kristy Byess Chadwick
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Georgia Department of Revenue                          Last 4 digits of account number                                  $0.00              $0.00               $0.00
              Priority Creditor's Name
              Bankruptcy Section                                     When was the debt incurred?
              PO Box 161108
              Atlanta, GA 30321-1108
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Notice Only




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 Debtor 1 David Heath Chadwick
 Debtor 2 Kristy Byess Chadwick                                                                            Case number (if known)

 2.2        Internal Revenue Service                                 Last 4 digits of account number                               $0.00                   $0.00                 $0.00
            Priority Creditor's Name
            PO Box 7346                                              When was the debt incurred?
            Philadelphia, PA 19101-7346
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Notice Only


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Aaron's Sales & Lease                                      Last 4 digits of account number        2921                                                              $0.00
            Nonpriority Creditor's Name
            Attn: Bankruptcy                                                                                  Opened 9/16/10 Last Active
            Po Box 100039                                              When was the debt incurred?            1/13/12
            Kennesaw, GA 30156
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                             Contingent
             Debtor 2 only                                             Unliquidated
             Debtor 1 and Debtor 2 only                                Disputed
             At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                    Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts
             Yes                                                       Other. Specify     Lease




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 Debtor 2 Kristy Byess Chadwick                                                                          Case number (if known)

 4.2      AmeriCredit/GM Financial                                   Last 4 digits of account number       6882                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 3/14/14 Last Active
          Po Box 183853                                              When was the debt incurred?           12/01/17
          Arlington, TX 76096
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Only


 4.3      Barclays Bank Delaware                                     Last 4 digits of account number       0092                                             $3,254.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 09/14 Last Active
          Po Box 8801                                                When was the debt incurred?           9/26/16
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.4      Capital One                                                Last 4 digits of account number       7713                                             $3,017.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 04/14 Last Active
          Po Box 30285                                               When was the debt incurred?           9/26/16
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




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 4.5      Capital One                                                Last 4 digits of account number       4736                                             $1,781.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/11 Last Active
          Po Box 30285                                               When was the debt incurred?           12/15/20
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.6      Capital One Bank USA NA                                    Last 4 digits of account number       XXXX                                             $1,479.00
          Nonpriority Creditor's Name
          10700 Capital One Way                                      When was the debt incurred?           07-07-2014
          Glen Allen, VA 23060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.7      CB Indigo                                                  Last 4 digits of account number       XXXX                                                $457.00
          Nonpriority Creditor's Name
          PO Box 4499                                                When was the debt incurred?           12-03-2018
          Beaverton, OR 97076
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




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 Debtor 2 Kristy Byess Chadwick                                                                          Case number (if known)

 4.8      CBA of GA Inc                                              Last 4 digits of account number       XXXX                                           $70,225.00
          Nonpriority Creditor's Name
          64 Sailors Drive, Ste 102                                  When was the debt incurred?           04-13-2018
          Ellijay, GA 30540
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Original Creditor: Community Bank of
           Yes                                                       Other. Specify     Pickens Co.

 4.9      CBA/Credit Bureau Associates                               Last 4 digits of account number       5365                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 11/01/18 Last Active
          Po Box 1095                                                When was the debt incurred?           8/31/18
          Ellijay, GA 30540
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Only


 4.1
 0        Community Bank of Pickens Cty                              Last 4 digits of account number       0916                                           $82,542.00
          Nonpriority Creditor's Name
          15 Sammy McGhee Blvd                                       When was the debt incurred?           09-28-2016
          Jasper, GA 30143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Secured Loan




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 4.1      Credence Resource Management,
 1        LLC                                                        Last 4 digits of account number       6425                                                $299.00
          Nonpriority Creditor's Name
          17000 Dallas Parkway                                       When was the debt incurred?           Opened 05/20
          Suite 204
          Dallas, TX 75248
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Collection Attorney Directv


 4.1
 2        Credit Collection Services                                 Last 4 digits of account number       6313                                                 $53.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 04/20
          Po Box 773
          Needham, MA 02494
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Collection Attorney Labcorp


 4.1
 3        Credit One Bank                                            Last 4 digits of account number       XXXX                                                $748.00
          Nonpriority Creditor's Name
          PO Box 98872                                               When was the debt incurred?           11-27-2018
          Las Vegas, NV 89193-8872
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




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 Debtor 2 Kristy Byess Chadwick                                                                          Case number (if known)

 4.1
 4        Credit One Bank                                            Last 4 digits of account number       XXXX                                                $610.00
          Nonpriority Creditor's Name
          PO Box 98872                                               When was the debt incurred?           11-11-2019
          Las Vegas, NV 89193-8872
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.1
 5        Credit One Bank                                            Last 4 digits of account number       6918                                                $748.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 11/27/18 Last Active
          Po Box 98873                                               When was the debt incurred?           10/16/20
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card


 4.1
 6        Enhanced Recovery Company                                  Last 4 digits of account number       9424                                                $267.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           Opened 09/20
          8014 Bayberry Road
          Jacksonville, FL 32256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Collection Attorney At T




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 4.1
 7        Equifax                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 740241                                              When was the debt incurred?
          Atlanta, GA 30374-0241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Only


 4.1
 8        Experian                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 9701                                                When was the debt incurred?
          Allen, TX 75013-9701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Only


 4.1
 9        FB&T                                                       Last 4 digits of account number       XXXX                                             $1,134.00
          Nonpriority Creditor's Name
          1415 Warm Springs Rd                                       When was the debt incurred?           03-23-2015
          Columbus, GA 31904
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit Card




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 4.2
 0        First Federal Credit Control                               Last 4 digits of account number       86XX                                                $605.00
          Nonpriority Creditor's Name
          24700 Chagrin Blvd Ste 205                                 When was the debt incurred?           09-20-2017
          Cleveland, OH 44122-5662
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Original Creditor: Fyzical Therapy BA


 4.2
 1        LendingPoint LLC.                                          Last 4 digits of account number       2967                                             $9,878.00
          Nonpriority Creditor's Name
          1201 Roberts Blvd                                                                                Opened 3/04/16 Last Active
          Suite 200                                                  When was the debt incurred?           1/26/18
          Kennesaw, GA 30144
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Unsecured


 4.2
 2        MOHELA                                                     Last 4 digits of account number       0001                                           $13,359.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 10/17 Last Active
          633 Spirit Drive                                           When was the debt incurred?           12/01/20
          Chesterfield, MO 63005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 13
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            Case 21-53045-sms                         Doc 1           Filed 04/15/21 Entered 04/15/21 14:39:03                                     Desc Main
                                                                     Document      Page 37 of 63
 Debtor 1 David Heath Chadwick
 Debtor 2 Kristy Byess Chadwick                                                                          Case number (if known)

 4.2
 3        MOHELA                                                     Last 4 digits of account number       0003                                           $11,209.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/18 Last Active
          633 Spirit Drive                                           When was the debt incurred?           12/01/20
          Chesterfield, MO 63005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational
 4.2
 4        MOHELA                                                     Last 4 digits of account number       0002                                             $1,665.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/18 Last Active
          633 Spirit Drive                                           When was the debt incurred?           12/01/20
          Chesterfield, MO 63005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
           At least one of the debtors and another
           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify
                                                                                          Educational
 4.2
 5        Receivable Management Services                             Last 4 digits of account number       9463                                                $301.00
          Nonpriority Creditor's Name
          240 Emery Street                                           When was the debt incurred?           Opened 8/01/17
          Bethlehem, PA 18015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     06 Progressive Insurance




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 13
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 Debtor 1 David Heath Chadwick
 Debtor 2 Kristy Byess Chadwick                                                                          Case number (if known)

 4.2
 6        Syncb/PPC                                                  Last 4 digits of account number       4259                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 3/06/15 Last Active
          Po Box 965060                                              When was the debt incurred?           11/14/19
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Only


 4.2
 7        The Bureaus Inc                                            Last 4 digits of account number       9XXX                                                $504.00
          Nonpriority Creditor's Name
          PO Box 809323                                              When was the debt incurred?           03-16-2017
          Chicago, IL 60680-9323
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Original Creditor: Capital One Bank USA
           Yes                                                       Other. Specify     NA

 4.2
 8        Trans Union                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1000                                                When was the debt incurred?
          Chester, PA 19022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 13
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 Debtor 1 David Heath Chadwick
 Debtor 2 Kristy Byess Chadwick                                                                          Case number (if known)

 4.2
 9         US Auto Finance                                           Last 4 digits of account number       XXXX                                                 $16,895.00
           Nonpriority Creditor's Name
           PO Box 1203                                               When was the debt incurred?           01-22-2019
           Lawrenceville, GA 30046
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Prior repo


 4.3
 0         Verizon Wireless                                          Last 4 digits of account number       0001                                                   $1,228.00
           Nonpriority Creditor's Name
           500 Technology Drive                                                                            Opened 07/18 Last Active
           Suite 500                                                 When was the debt incurred?           8/31/20
           Weldon Springs, MO 63304
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a community                   Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Unsecured

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA NA                                       Line 4.27 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 10700 Capital One Way                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Glen Allen, VA 23060
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Community Bank of Pickens Cty                                 Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
 15 Sammy McGhee Blvd                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Jasper, GA 30143
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fyzical Therapy & Balance                                     Line 4.20 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 6884 Hickory Flat Hwy                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Woodstock, GA 30188
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 12 of 13
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 Debtor 1 David Heath Chadwick
 Debtor 2 Kristy Byess Chadwick                                                                         Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                        6b.      $                     0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                     0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                26,233.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              196,025.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              222,258.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 13
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 Fill in this information to identify your case:

 Debtor 1                 David Heath Chadwick
                          First Name                        Middle Name              Last Name

 Debtor 2                 Kristy Byess Chadwick
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules.        You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                    State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.2
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.3
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.4
           Name


           Number      Street

           City                                    State                  ZIP Code
  2.5
           Name


           Number      Street

           City                                    State                  ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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                                                                        Document      Page 42 of 63
 Fill in this information to identify your case:

 Debtor 1                   David Heath Chadwick
                            First Name                            Middle Name        Last Name

 Debtor 2                   Kristy Byess Chadwick
 (Spouse if, filing)        First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                             Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

    3.1                                                                                               Schedule D, line
                Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




    3.2                                                                                               Schedule D, line
                Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      David Heath Chadwick

Debtor 2                      Kristy Byess Chadwick
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF GEORGIA

Case number                                                                                             Check if this is:
(If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                              Not employed
       employers.
                                             Occupation                                                       Loan Specialist
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                  Broker Solutions, Inc.

       Occupation may include student        Employer's address                                               DBA New American Funding
       or homemaker, if it applies.                                                                           14511 Myford Rd # 100
                                                                                                              Tustin, CA 92780

                                             How long employed there?                                                  3 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $          2,600.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $    2,600.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    David Heath Chadwick
Debtor 2    Kristy Byess Chadwick                                                                 Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $              0.00     $         2,600.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.     $              0.00     $           462.00
      5b.    Mandatory contributions for retirement plans                                  5b.     $              0.00     $             0.00
      5c.    Voluntary contributions for retirement plans                                  5c.     $              0.00     $             0.00
      5d.    Required repayments of retirement fund loans                                  5d.     $              0.00     $             0.00
      5e.    Insurance                                                                     5e.     $              0.00     $           728.00
      5f.    Domestic support obligations                                                  5f.     $              0.00     $             0.00
      5g.    Union dues                                                                    5g.     $              0.00     $             0.00
      5h.    Other deductions. Specify:                                                    5h.+    $              0.00 +   $             0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $               0.00     $        1,190.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $               0.00     $        1,410.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                0.00
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $                0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $                0.00
      8e. Social Security                                                                  8e.     $              0.00     $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:    unemployment                                                      8f.  $            2,580.00   $               0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $               0.00
      8h. Other monthly income. Specify: consulting job                                    8h.+ $                0.00 + $           2,500.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,580.00      $           2,500.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           2,580.00 + $         3,910.00 = $           6,490.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          6,490.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1              David Heath Chadwick                                                                 Check if this is:
                                                                                                            An amended filing
Debtor 2              Kristy Byess Chadwick                                                                 A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA                                          MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
                 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to       Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2              age             live with you?

      Do not state the                                                                                                                No
      dependents names.                                                            Child                             16               Yes
                                                                                                                                      No
                                                                                   Child                             19               Yes
                                                                                                                                      No
                                                                                                                                      Yes
                                                                                                                                      No
                                                                                                                                      Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                     Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                          1,890.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                            0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                 4c.    $                            0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                            0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                            0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                        page 1
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                                                           Document      Page 46 of 63

Debtor 1     David Heath Chadwick
Debtor 2     Kristy Byess Chadwick                                                                     Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 270.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  78.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                 6c. $                                                 498.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                821.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                200.00
10.   Personal care products and services                                                    10. $                                                 150.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  420.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: consulting taxes                                                              16. $                                                 300.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  416.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  897.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,490.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,490.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,490.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,490.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    0.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                  David Heath Chadwick
                           First Name                       Middle Name               Last Name

 Debtor 2                  Kristy Byess Chadwick
 (Spouse if, filing)       First Name                       Middle Name               Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                         Check if this is an
                                                                                                                            amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                12/15


If you are an individual filing under chapter 7, you must fill out this form if:
 creditors have claims secured by your property, or
 you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?


    Creditor's         1st Franklin Financial                              Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of        2014 Chevrolet Silverado                          Reaffirmation Agreement.
    property              170,000 miles                                    Retain the property and [explain]:
    securing debt:



    Creditor's         1st Franklin Financial Cor                          Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of        HHG                                               Reaffirmation Agreement.
    property                                                               Retain the property and [explain]:
    securing debt:



    Creditor's         Hamby Mechanical Inc                                Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.
                                                                           Retain the property and enter into a         Yes
    Description of        Notice of Mechanical &                            Reaffirmation Agreement.
    property              Materialmens Lien                                Retain the property and [explain]:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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 Debtor 1      David Heath Chadwick
 Debtor 2      Kristy Byess Chadwick                                                                  Case number (if known)


     securing debt:



     Creditor's    Santander Consumer USA                                  Surrender the property.                                 No
     name:                                                                 Retain the property and redeem it.
                                                                           Retain the property and enter into a                    Yes
     Description of     2015 Jeep Wrangler 150,000                           Reaffirmation Agreement.
     property           miles                                              Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X                                                                                   X
       David Heath Chadwick                                                              Kristy Byess Chadwick
       Signature of Debtor 1                                                             Signature of Debtor 2

       Date        April 8, 2021                                                     Date     April 8, 2021



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Fill in this information to identify your case:

 Debtor 1                   David Heath Chadwick
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Kristy Byess Chadwick
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              45,025.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $              45,025.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                       $              75,926.01

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                               $             222,258.00


                                                                                                                                     Your total liabilities $                  298,184.01


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                $                 6,490.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 6,490.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

         Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
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 Debtor 1      David Heath Chadwick
 Debtor 2      Kristy Byess Chadwick                                                      Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $            1,300.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                         $                  0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)               $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                $             26,233.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             26,233.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                    David Heath Chadwick
                             First Name                     Middle Name             Last Name

 Debtor 2                    Kristy Byess Chadwick
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X                                                                           X
              David Heath Chadwick                                                      Kristy Byess Chadwick
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       April 8, 2021                                                  Date    April 8, 2021




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
             David Heath Chadwick
 In re       Kristy Byess Chadwick                                                                            Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,022.00
             Prior to the filing of this statement I have received                                        $                      622.00
             Balance Due                                                                                  $                     1,400.00

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is: Debtors shall make seven monthly payments of $200.
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 8, 2021                                                                /s/ Jeffrey B. Kelly
     Date                                                                         Jeffrey B. Kelly 412798
                                                                                  Signature of Attorney
                                                                                  Law Office of Jeffrey B. Kelly, P.C.
                                                                                  107 E. 5th Avenue
                                                                                  Rome, GA 30161
                                                                                  678-861-1127
                                                                                  lawoffice@kellycanhelp.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
            David Heath Chadwick
 In re      Kristy Byess Chadwick                                                                    Case No.
                                                                                    Debtor(s)        Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: April 8, 2021
                                                                         David Heath Chadwick
                                                                         Signature of Debtor

 Date: April 8, 2021
                                                                         Kristy Byess Chadwick
                                                                         Signature of Debtor




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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              David Heath Chadwick
 Debtor 2              Kristy Byess Chadwick                                                          1. There is no presumption of abuse
 (Spouse, if filing)
                                                                                                      2. The calculation to determine if a presumption of abuse
 United States Bankruptcy Court for the:            Northern District of Georgia
                                                                                                             applies will be made under Chapter 7 Means Test
                                                                                                             Calculation (Official Form 122A-2).
 Case number
 (if known)                                                                                           3. The Means Test does not apply now because of
                                                                                                             qualified military service but it could apply later.
                                                                                                       Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income
  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                  living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                 Column B
                                                                                                       Debtor 1                 Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                             0.00      $         1,300.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                             0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                             0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $        0.00
        Ordinary and necessary operating expenses                        -$        0.00
        Net monthly income from a business, profession, or farm $                  0.00 Copy here -> $                0.00      $               0.00
  6. Net income from rental and other real property
                                                                                    Debtor 1
        Gross receipts (before all deductions)                            $        0.00
        Ordinary and necessary operating expenses                        -$        0.00
        Net monthly income from rental or other real property            $         0.00 Copy here -> $                0.00      $               0.00
                                                                                                       $              0.00      $               0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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 Debtor 1     David Heath Chadwick
 Debtor 2     Kristy Byess Chadwick                                                                   Case number (if known)



                                                                                                  Column A                      Column B
                                                                                                  Debtor 1                      Debtor 2 or
                                                                                                                                non-filing spouse
  8. Unemployment compensation                                                                    $                  0.00       $            0.00
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $               2,400.00
            For your spouse                                            $          2,400.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                      0.00       $            0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war
      crime, a crime against humanity, or international or domestic terrorism; or
      compensation pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
               .                                                                              $                      0.00       $            0.00
                                                                                                  $                  0.00       $            0.00
                  Total amounts from separate pages, if any.                                  +   $                  0.00       $            0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $             0.00       +$          1,300.00     =$          1,300.00

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:         Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>              $          1,300.00

              Multiply by 12 (the number of months in a year)                                                                                     x 12
       12b. The result is your annual income for this part of the form                                                                12b. $          15,600.00

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  GA

       Fill in the number of people in your household.                        4
       Fill in the median family income for your state and size of household.                                                         13.    $        92,286.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:         Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X                                                                       X
Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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                                                                     Document      Page 56 of 63
 Debtor 1    David Heath Chadwick
 Debtor 2    Kristy Byess Chadwick                                                                  Case number (if known)


                David Heath Chadwick                                                     Kristy Byess Chadwick
                Signature of Debtor 1                                                    Signature of Debtor 2
        Date April 8, 2021                                                        Date April 8, 2021
             MM / DD / YYYY                                                            MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                              page 3
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                        1st Franklin Financial
                        535 Riverstone Parkway
                        Canton, GA 30114



                        1st Franklin Financial Cor
                        213 E Tugalo St
                        Toccoa, GA 30577-2127



                        Aaron's Sales & Lease
                        Attn: Bankruptcy
                        Po Box 100039
                        Kennesaw, GA 30156



                        Aldridge Pite Haan, LLP
                        Atty for Capital One Bank
                        PO Box 52815
                        Atlanta, GA 30355



                        AmeriCredit/GM Financial
                        Attn: Bankruptcy
                        Po Box 183853
                        Arlington, TX 76096



                        Barclays Bank Delaware
                        Attn: Bankruptcy
                        Po Box 8801
                        Wilmington, DE 19899



                        Capital One
                        Attn: Bankruptcy
                        Po Box 30285
                        Salt Lake City, UT 84130



                        Capital One Bank (USA), N.A.
                        4851 Cox Rd
                        Glen Allen, VA 23060
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                    Capital One Bank USA NA
                    10700 Capital One Way
                    Glen Allen, VA 23060



                    CB Indigo
                    PO Box 4499
                    Beaverton, OR 97076



                    CBA of GA Inc
                    64 Sailors Drive, Ste 102
                    Ellijay, GA 30540



                    CBA/Credit Bureau Associates
                    Attn: Bankruptcy Department
                    Po Box 1095
                    Ellijay, GA 30540



                    Cherokee County Magistrate Cou
                    90 North St
                    #150
                    Canton, GA 30114



                    Chrysler Capital
                    P.O. Box 961275
                    Fort Worth, TX 76161



                    Cloud Willis & Ellis, LLC
                    Atty for Farm Bureau Bank
                    3928 Montclair Rd Ste 227
                    Birmingham, AL 35213



                    Community Bank of Pickens Cty
                    15 Sammy McGhee Blvd
                    Jasper, GA 30143



                    Cooling & Winter, LLC
                    Atty for Capital One Bank
                    1355 Roswell Rd Ste 240
                    Marietta, GA 30062
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                    Credence Resource Management, LLC
                    17000 Dallas Parkway
                    Suite 204
                    Dallas, TX 75248



                    Credit Collection Services
                    Attn: Bankruptcy
                    Po Box 773
                    Needham, MA 02494



                    Credit One Bank
                    PO Box 98872
                    Las Vegas, NV 89193-8872



                    Credit One Bank
                    Attn: Bankruptcy Department
                    Po Box 98873
                    Las Vegas, NV 89193



                    Enhanced Recovery Company
                    Attn: Bankruptcy
                    8014 Bayberry Road
                    Jacksonville, FL 32256



                    Equifax
                    PO Box 740241
                    Atlanta, GA 30374-0241



                    Experian
                    PO Box 9701
                    Allen, TX 75013-9701



                    Farm Bureau Bank FSB
                    2165 Green Vista Dr
                    Sparks, NV 89431



                    FB&T
                    1415 Warm Springs Rd
                    Columbus, GA 31904
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                    First Federal Credit Control
                    24700 Chagrin Blvd Ste 205
                    Cleveland, OH 44122-5662



                    Fyzical Therapy & Balance
                    6884 Hickory Flat Hwy
                    Woodstock, GA 30188



                    Georgia Department of Revenue
                    Bankruptcy Section
                    PO Box 161108
                    Atlanta, GA 30321-1108



                    Hamby Mechanical Inc
                    251 Rope Mill Pkwy Ste 1
                    Woodstock, GA 30188



                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101-7346



                    LendingPoint LLC.
                    1201 Roberts Blvd
                    Suite 200
                    Kennesaw, GA 30144



                    MOHELA
                    Attn: Bankruptcy
                    633 Spirit Drive
                    Chesterfield, MO 63005



                    Receivable Management Services
                    240 Emery Street
                    Bethlehem, PA 18015



                    Santander Consumer USA
                    Attn: Bankruptcy
                    Po Box 961245
                    Fort Worth, TX 76161
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                    Syncb/PPC
                    Attn: Bankruptcy
                    Po Box 965060
                    Orlando, FL 32896



                    The Bureaus Inc
                    PO Box 809323
                    Chicago, IL 60680-9323



                    Timothy Steplitus & Steven Jaf
                    626 Whistler Dr
                    Canton, GA 30115



                    Trans Union
                    PO Box 1000
                    Chester, PA 19022



                    US Auto Finance
                    PO Box 1203
                    Lawrenceville, GA 30046



                    Verizon Wireless
                    500 Technology Drive
                    Suite 500
                    Weldon Springs, MO 63304
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                                                                      LOCAL FORM 5005-7(c)(3)(B)

            David Heath Chadwick
 In re      Kristy Byess Chadwick                                                                                   Case No.
                                                                                       Debtor(s)



             DECLARATION UNDER PENALTY OF PERJURY CONCERNING PETITION, SCHEDULES,
                  SUMMARY OF SCHEDULES, AND STATEMENTS OF FINANCIAL AFFAIRS
            Each of the undersigned declares under penalty of perjury -
            (1) My attorney is filing on my behalf

                                                                     the original of or          the amendment to
                                                                              [check applicable box]
the following papers in the United States Bankruptcy Court for the Northern District of Georgia (check applicable box for papers that
are to be filed simultaneously with this Declaration);

                        *Petition                                                          Schedule F
                        List of all Creditors                                              Schedule G
                        *List of 20 largest creditors                                      Schedule H
                        Schedule A                                                         Schedule I
                        Schedule B                                                         Schedule J
                        Schedule C                                                         *Declaration Concerning Debtor's Schedules
                        Schedule D                                                         *Statement of Financial Affairs
                        Schedule E

            (2) that I have read each of the documents described above;

            (3) that with respect to each document described above marked with an asterisk, I signed the Declaration under penalty of
            perjury attached to or part of such document; and

            (4) that when I signed this Declaration, the foregoing documents were not blank or partially complete; and

            (5) that the information provided in the above documents is true and correct to the best of my knowledge, information and
            belief.


 Date April 8, 2021                                                        Signature
                                                                                       David Heath Chadwick
                                                                                       Debtor


 Date April 8, 2021                                                        Signature
                                                                                       Kristy Byess Chadwick
                                                                                       Joint Debtor

                                                        Attorney's Certification
         The undersigned attorney for the above Debtor(s) certifies to the Court that: (1) the Debtor(s) (or, if the Debtor is an entity,
an authorized agent of the Debtor) will have signed this form and the documents referred to above before I file them; (2) no material
change was made in the documents referred to above after the Debtor(s) (or authorized agent) read and signed the final paper copy of
those documents, including Declarations attached to those documents and the foregoing Declaration; and (3) those documents are the
documents filed with the court simultaneously with this Certification.


 Date: April 8, 2021                                                       /s/ Jeffrey B. Kelly


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                                                                         Signature of Attorney
                                                                         Jeffrey B. Kelly 412798 412798 GA




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